                   Case 1:25-cv-00056-N/A            Document 1       Filed 03/11/25         Page 1 of 2
UNITED STATES COURT OF INTERNATIONAL TRADE                                        FORM 1

            LLOYD IMPORTS LTD,

                                        Plaintiff,                 SUMMONS
                    v.                                             Court No. 25-00056

            UNITED STATES,
                                         Defendant.

TO:     The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the attached schedule).
                                                        /s/ Mario Toscano
                                                        Clerk of the Court


                                                       PROTEST
   Port(s) of
                                               Center (if known): CEE004
   Entry:       Long Beach, CA
   Protest                                     Date Protest
   Number: 2704-21-153067                      Filed:         03/08/2021
                                               Date Protest
   Importer: LLOYD IMPORTS LTD
                                               Denied:        10/03/20024

   Category of Merchandise: Footwear


                             ENTRIES INVOLVED IN ABOVE PROTEST
       Entry              Date of      Date of             Entry            Date of           Date of
      Number               Entry       Liquidation        Number             Entry          Liquidation
 98F00419083             07/09/2020    2/26/2021




                                                                    Grunfeld, Desiderio, Lebowitz, Silverman & Klestadt LLP
                                                                    599 Lexington Avenue, 36th Floor
                                                                    New York, New York 10022
                                                                    JSpraragen@GDLSK.COM
                                                                    212-557-4000
                    Case 1:25-cv-00056-N/A                 Document 1              Filed 03/11/25          Page 2 of 2



                              CONTESTED ADMINISTRATIVE DECISION
                                        Appraised Value of Merchandise
                                              Statutory Basis                              Statement of Value

   Appraised:




   Protest Claim:


                                          Classification, Rate or Amount
                                              Assessed                                     Protest Claim

      Merchandise          Tariff Classification             Rate             Tariff Classification             Rate

    Footwear                 6401.92.90 HTSUS            37.5% ad val.         6403.91.90 HTSUS             10% ad val.




                                                Other
   State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:


   The issue which was common to all such denied protests: Whether the imported merchandise
   is specifically provided for under the claimed provision.


 Every denied protest included in this civil action was filed by the same above-named importer, or person authorized under 19 U.S.C. §
 1514(c)(2). The category of merchandise specified above was involved in each entry of merchandise included in every such denied protest.
 The issue or issues stated above were common to all such denied protests. All such protests were filed and denied as prescribed by law. All
 liquidated duties, charges or exactions have been paid.

                                                                 /s/ Joseph M. Spraragen
                                                                    Signature of Plaintiff's Attorney
                                                                 March 11, 2025
                                                                               Date




 (As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017; June 22, 2021, eff. July 26, 2021.)
